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                             United States District Court
                                       for the
                             Southern District of Florida

  Judy Corgiat, Plaintiff,                )
                                          )
  v.                                      )
                                          ) Civil Action No. 19-20577-Civ-Scola
  Carnival Corporation, Defendant.        )
                                          )

                        Opinion Order Striking Complaint
        This matter is before the Court on an independent review of the record.
 This maritime tort action arises from injuries allegedly sustained by Plaintiff
 Judy Corgiat (“Corgiat”) when she tripped and fell onboard a ship operated by
 Defendant Carnival Corporation (“Carnival”). (ECF No. 1.) In the Complaint,
 Corgiat asserts one count for “negligence,” alleging at least twenty-nine ways in
 which Carnival “breached” a duty of care to Corgiat or was otherwise “negligent.”
 (Id. at ¶ 33.) These “breaches” raise numerous distinct theories of liability,
 including for negligently creating or allowing a dangerous condition, negligent
 failure to warn, negligent mode of operation, negligent failure to train, negligent
 hiring and retention, and negligent design. (Id. at ¶ 33(a)-(cc).)
         “Courts in the Eleventh Circuit have little tolerance for shotgun
 pleadings.” Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1294-95 (11th Cir.
 2018). They violate Federal Rules of Civil Procedure 8(a)(2) and 10(b), “waste
 scarce judicial resources, inexorably broaden the scope of discovery, wreak
 havoc on appellate court dockets, and undermine the public’s respect for the
 courts.” Id. (quotations and alterations omitted). When presented with a shotgun
 pleading, a district court “should strike the pleading and instruct counsel to
 replead the case—if counsel could in good faith make the representations
 required by Fed. R. Civ. P. 11(b).” Jackson v. Bank of Am., N.A., 898 F.3d 1348,
 1357-58 (11th Cir. 2018) (“This is so even when the other party does not move
 to strike the pleading”). One type of shotgun pleading is where a complaint fails
 to “separate[] into a different count each cause of action or claim for relief.”
 Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1322-23, n.13 (11th
 Cir. 2015). The Complaint is this type of shotgun pleading.
        Through a single “negligence” count, Corgiat asserts multiple, distinct
 theories of liability. (ECF No. 1 at ¶ 33.) Each theory is a separate cause of action
 that must be asserted independently and with supporting factual allegations.
 See Garcia v. Carnival Corp., 838 F. Supp. 2d 1334, 1337, n.2 (S.D. Fla. 2012)
 (Moore, J.) (dismissing maritime negligence claim that “epitomizes a form of
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 ‘shotgun’ pleading,” where the plaintiff alleged that Defendant owed a duty of
 “reasonable care under the circumstances,” and then “proceed[ed] to allege at
 least twenty-one ways in which Defendant breached this duty”); Brown v.
 Carnival Corp., 202 F. Supp. 3d 1332, 1338 (S.D. Fla. 2016) (Ungaro, J.) (“Simply
 alleging that Carnival owed Plaintiff a duty of ‘reasonable care’ in a conclusory
 fashion, while also pleading [“forty-one”] alleged breaches that purport to impose
 a heightened duty upon Carnival, is not sufficient to state a valid negligence
 claim under maritime law,” and holding that “the burden will remain on Plaintiff
 to review her Complaint and ensure that each factual allegation is supported by
 law and plausible facts, and is alleged in good faith.”); Gayou v. Celebrity Cruises,
 Inc., No. 11-23359-Civ, 2012 WL 2049431, at *5-*6, n.2 (S.D. Fla. June 5, 2012)
 (Scola, J.) (ordering plaintiff to amend complaint to “separately allege an
 independent count” for various theories of liability that were lumped into a single
 maritime negligence claim); Flaherty v. Royal Caribbean Cruises, Ltd., No. 15-
 22295, 2015 WL 8227674, *3 n.3 (S.D. Fla. Dec. 7, 2015) (Lenard, J.) (same);
 Doe v. NCL (Bahamas) Ltd., 2016 WL 6330587, at *3 (S.D. Fla. Oct. 27, 2016)
 (Ungaro, J.) (holding that Plaintiff’s “boilerplate allegations” of breach of duty
 failed to state a claim for negligent hiring and retention, training and supervision
 under maritime law, and ordering Plaintiff to “allege each of these three claims
 in separate Counts” in an amended complaint (emphasis in original)); Ciethami
 v. Celebrity Cruises, Inc., 207 F. Supp. 3d 1345, 1349-50 (S.D. Fla. 2016)
 (Williams, J.) (holding that maritime negligence claim failed Rule 8(a), where the
 Plaintiff’s “shotgun-style recitation[]” of “34 breaches of duty,” “without any
 factual context,” makes “any meaningful assessment of her claims difficult”);
 Gharfeh v. Carnival Corp., No. 17-20499, 2018 WL 501270, at *3, *6-*7 (S.D. Fla.
 Jan. 22, 2018) (Goodman, Mag. J.) (dismissing maritime negligence count that
 “improperly commingles claims” as an “impermissible shotgun pleading”);
 Gharfeh v. Carnival Corp., 309 F. Supp. 3d 1317, 1333, n.7 (S.D. Fla. 2018)
 (Goodman, Mag. J.) (dismissing negligence claim where Plaintiff “has done little
 more than assert fact-free, wholly conclusory, boilerplate allegations” and
 requiring in any amended pleading that the plaintiff “allege facts, not merely
 labels and boilerplate conclusions”); Ward v. Carnival Cruises, No. 17-24628,
 2019 WL 342027, at **2-3, n.1, n.2 (S.D. Fla. Jan. 28, 2019) (Scola, J.) (collecting
 cases).
        Accordingly, the Court strikes the Complaint, (ECF No. 1), as a shotgun
 pleading. Corgiat may file an amended complaint by February 20, 2019,
 provided it complies with this order, Federal Rules of Civil Procedure 8(a) and
 10(b), and the Iqbal/Twombly standard. Specifically, Corgiat shall assert each
 theory of liability as a separate cause of action. And any legal conclusions that
 form the basis for those claims must be made in good faith and supported by
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 factual allegations. See Fed. R. Civ. P. 11(b); Gayou, 2012 WL 2049431 at *6
 (“Upon re-pleading, however, [plaintiff] is reminded that any alleged breaches,
 and the duties associated therewith, must be consistent with federal maritime
 law and must be supported by underlying factual allegations.”). Corgiat is
 forewarned that failure to comply with this order may result in the dismissal of
 this case with prejudice or other appropriate sanctions. See Jackson, 898 F.3d
 at 1358-59 (instructing that “if the plaintiff fails to comply with the court’s
 order—by filing a repleader with the same deficiency—the court should strike his
 pleading or, depending on the circumstances, dismiss his case and consider the
 imposition of monetary sanctions.” (quotations omitted)).
       Done and ordered, in Chambers, in Miami, Florida on February 13, 2019.



                                            Robert N. Scola, Jr.
                                            United States District Judge
